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                                                                                                       E-FILED
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                                                                               Clerk, U.S. District Court, ILCD

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS
                                     PEORIA DIVISION

 Anthony Gay,                                       )
                                                    )
                 Plaintiff,                         )     Case No. 1:19-CV-01133
                                                    )
   v.                                               )     Judge Sue Myerscough
                                                    )     Magistrate Judge Eric I. Long
 John Baldwin et al.,                               )
                                                    )
                 Defendants.                        )

                                  PLAINTIFF’S STATUS REPORT

        Plaintiff Anthony Gay, by and through his undersigned attorneys, respectfully submits

this status report. Plaintiff reports as follows:

        1.      This status report concerns Plaintiffs response to the Wexford defendants’ motion

for sanctions, ECF 189, 190, 192.

        2.      Responding to Wexford’s sanctions motion requires Plaintiff’s counsel to

communicate with Mr. Gay and obtain an affidavit from him. Mr. Gay, however, is currently

incarcerated at FMC Butner. For reasons related to this incarceration, Plaintiff’s counsel has

experienced considerable difficulty communicating Mr. Gay and obtaining the affidavit.

        3.      On September 20, 2022 considering these difficulties, Plaintiff filed an unopposed

motion to vacate the deadline for responding to Wexford’s sanctions motion. ECF 197.

        4.      In the September 20 motion, Plaintiff’s counsel proposed to file a status report to:

(a) update the Court on efforts to secure an-in person visit with Mr. Gay (or any success in

obtaining the affidavit remotely); (b) propose a new date for Plaintiff to respond to the sanctions

motion; or (c) advise the Court regarding any possible assistance in facilitating a meeting with

Mr. Gay, such as a court order or other instruction reflecting the need for the meeting and the

affidavit. ECF 197 ¶ 19.

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       5.      Plaintiff’s counsel herein submits the proposed status report:

       6.      On each weekday from September 20 – 24, and on September 27, Plaintiff’s

counsel called FMC Butner, several occasions on multiple time each day. He was directed to

Mr. Gay’s “counselor,” and was told that this was the only means of securing a visit or phone

call with Mr. Gay. The counselor did not return multiple messages left by Plaintiff’s counsel.

After these attempts failed, counsel contacted the BOP’s headquarters in Washington, D.C.

Plaintiff’s counsel was put in touch with a BOP attorney, and shortly thereafter, on the afternoon

of September 27, Mr. Gay’s counselor called Plaintiff’s counsel.

       7.      The counselor has made Mr. Gay available for a call on September 29. It is

Plaintiff counsel’s intention to hold a call with Mr. Gay on that day, and then complete and

prepare a draft affidavit to send to Mr. Gay via U.S. Mail (the BOP has declined to facilitate

email service). Plaintiff’s counsel plans to hold a second call with Mr. Gay on October 6 to go

over the affidavit and secure Mr. Gay’s signature. Thereafter, Plaintiff’s counsel anticipates

being able to respond to Wexford’s sanctions motion on October 13.

       8.      Plaintiff does not believe that further assistance from the Court is needed to

facilitate communication with Mr. Gay.


Dated: September 27, 2022                            Respectfully submitted,

.                                                    /s/ Stephen H. Weil        .

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